     Case 2:17-cv-06187-FMO-AS Document 57 Filed 10/17/19 Page 1 of 20 Page ID #:1006




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9
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10       Attorney for Plaintiff,
11       JOSE TINOCO and all putative class members
12
13
                                    UNITED STATES DISTRICT COURT
14
                                  CENTRAL DISTRICT OF CALIFORNIA
15
16       JOSE TINOCO, an individual, on behalf )              Case No.: 2:17-CV-06187 FMO
17       of himself and all others similarly   )              (ASx)
         situated,                             )
18                                             )              (Judge: Hon. Fernando M. Olguin)
                                               )
19
                                   Plaintiff,  )              PLAINTIFF’S NOTICE OF
                                               )              MOTION AND UNOPPOSED
20       vs.                                   )              MOTION FOR FINAL
                                               )              APPROVAL OF SETTLEMENT
21                                             )
         HAJOCA CORPORATION, a                 )
22                                             )                      Date:        November 7, 2019
         professional corporation, and DOES 1- )                      Time:        10:00 a.m.
23       50, inclusive,                        )                      Dept:        6D
                                               )
24                                             )              Filing Date: July 19, 2017
                                  Defendants.  )
25       ________________________________ )
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                          Plaintiff’s Unopposed Motion for Final Approval of Settlement - 1
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1        TO THE COURT, ALL PARTIES, AND ATTORNEYS OF RECORD:
2               NOTICE IS HEREBY GIVEN that on November 7, 2019, at 10:00 a.m. or
3        as soon thereafter as the matter can be heard in courtroom 6D in the above entitled
4        courthouse located at 350 W. 1st Street, 6th Floor, Los Angeles, CA 90012, Plaintiff
5        Jose Tinoco (“Plaintiff”), in his own behalf, and on behalf of the putative class
6        (“Class”), will move the Court for final approval of class action settlement.
7               This motion is based upon this Notice, the Memorandum of Points and
8        Authorities attached hereto; the declarations of Nazo Koulloukian and Sahag
9        Majarian and all exhibits attached thereto; the previously filed and concurrently
10       heard motion for attorneys’ fees, costs, and plaintiffs’ enhancement award; and all
11       other records, pleadings, and other papers filed in this action; and upon such other
12       documentary and verbal evidence or argument as may be presented to the Court at
13       the hearing of this motion.
14
         DATED: October 17, 2019                      KOUL LAW FIRM
15
16                                                    LAW OFFICES OF SAHAG MAJARIAN II
17
18                                                    By:_/s/ Nazo L. Koulloukian___________
19
                                                      Nazo L. Koulloukian
                                                      Sahag Majarian II
20                                                    Attorneys for Plaintiff, JOSE TINOCO, and
21                                                    all putative class members
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1                                           TABLE OF AUTHORITIES
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         Federal Cases:
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4        Churchill Village, L.L.C. v. General Electric, 361 F.3d 566, 577 (9th Cir. 2004) - 19
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6        In re Corrugated Container Antitrust Litig., 643 F.2d 195, 221-22 (5th Cir. 1981)14
7        In re Toys R Us-Delaware, Inc.--Fair & Accurate Credit Transactions Act
8          (FACTA) Litig., 295 F.R.D. 438, 456 (C.D. Cal. 2014) ---------------------------- 19
9        Moreno v. Autozone, Inc., No. C05-04432 MJJ, 2007 WL 1650942, at *3 (N.D.
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11       Nordstrom Com. Cases, 186 Cal. App. 4th at 581 ------------------------------------- 16
12       Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 811-12 (1985) --------------------- 14
13       Reynolds v. Benefit Nat'l Bank, 288 F.3d 277, 284-85 (7th Cir. 2002). ---------- 9, 17
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17       Amaral v. Cintas Corp. No., 2 163 Cal.App.4th 1157, 1213 (2008)----------------- 12
18       Cellphone Termination Fee Cases, 180 Cal. App. 4th at 1117-1118 (2011) ------- 16
19       Dunk v. Ford Motor Company, 48 Cal.App.4th 1794, 1802 (1996) ----------------- 16
20       Kullar v. Foot Locker Retail, Inc., 168 Cal. App. 4th 116, 131-33 (2008) -------9,17
21       Mallick v. Superior Court, 89 Cal.App.3d 434, 438 (1979) -------------------------- 16
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13       Alba Conte & Herbert Newberg, Newberg on Class Actions §12:15 (4th ed. 2002)
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1                           MEMORANDUM OF POINTS & AUTHORITIES
2
                                          I.      INTRODUCTION
3
4                Before the Court is Plaintiffs’ Unopposed Motion for Final Approval of this
5        Class and Representative Action Settlement. This Court granted preliminary
6        approval of the $1,440,000 settlement on June 18, 2019. Since then, the Parties have
7        worked closely with the court appointed Claims Administrator, CPT Group, Inc., to
8        disseminate the required notice in both English and Spanish. The Notice Packet was
9        mailed to 493 Class Members. (Declaration of Daniel P. La “La Decl.” ¶4-8 and
10       exhibits A & B thereto.) No Class Members have disputed, objected, or requested to
11       be excluded from the Settlement. (La Decl. ¶ 13-15.) A total of 493 Class Members
12       will be participating in this Settlement, a full 100% participation rate, with the
13       highest payment estimated to be $4,340.30 and the average payment estimated to be
14       $1,959.16. (La Decl. ¶13-17.) This is a substantial recovery by any measure, but
15       especially for these Class Members, who are hourly employees averaging $18.23 per
16       hour. (Koulloukian Decl. ¶9.)
17               Defendant Hajoca Corporation is a company doing business in California and
18       other states, providing plumbing, heating, and industrial supplies. Plaintiff Jose
19       Tinoco worked as a driver for Defendant for seven (7) years until January 16, 2017.
20       Plaintiff brought this action on a class and representative basis for failure to pay all
21       overtime wages owed, meal and rest break violations, waiting time penalties,
22       unlawful business practices, and payroll record violations under federal and state
23       laws.
24
25               A.    Procedural History
26
                 This action was filed on July 19, 2017, as a class and representative action in
27
         Los Angeles Superior Court, Case No. BC669091. On August 21, 2017, Defendant
28
     2
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3
                          Plaintiff’s Unopposed Motion for Final Approval of Settlement - 6
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1        removed the action to the U.S. District Court for the Central District of California
2        pursuant to the Class Action Fairness Act (“CAFA”), 28 U.S.C. §1332(d), where it
3        is currently pending. (Dkt. 1.) Plaintiff filed a First Amended Complaint on October
4        31, 2017 (“FAC”). (Dkt. 24.)
5               The FAC alleged eight causes of action: (1) Failure to pay overtime, including
6        due to miscalculating the overtime rate by omitting certain incentive compensation
7        (Cal. Lab. Code (“LC”) §§ 207, 218, 510, 1194, and IWC Wage Order § (3)(A)(1));
8        (2) Failure to pay overtime due to timecard rounding (LC §§ 218, 510, 1194, IWC
9        Wage Order § (3)(A)(1)); (3) Failure to pay final compensation on a timely basis
10       and waiting time penalties (LC §§ 201, 202, 203); (4) Failure to provide meal periods
11       (LC §§ 226(e)(2)(B)(i), 226.7, and 512, and applicable IWC Wage Order); (5)
12       Failure to provide rest breaks (LC §§ 226(e)(2)(B)(i), 226.7, and 512, and applicable
13       IWC Wage Order); (6) Failure to maintain and provide accurate wage statements
14       (LC §§ 226(a) et seq., 1174); (7) Unlawful business practices § 17200 (“UCL”) (Bus.
15       & Prof. Code § 17200, et seq.); (8) Violation of PAGA. On October 26, 2018
16       Plaintiff filed the operative Second Amended Complaint, adding a claim under the
17       Fair Labor Standards Act (“FLSA”) 29 U.S.C. §216(b). (Dkt 42.) The parties again
18       revisited and renegotiated settlement terms and drafted and filed a Second Amended
19       Settlement Agreement. (Dkt. 46.)
20
                B.     Extensive Discovery and Informed Negotiation
21
22              This Settlement was achieved following extensive negotiations over several
23       months, including a formal, private mediation under the supervision of a respected
24       mediator, Jeffrey Krivis, Esq., who is experienced in employment class and PAGA
25       representative actions. Prior to the mediation, in response to extensive meet and
26       confer communications and written informal discovery requests, Defendants
27       produced a massive amount of sampling wage, hour, and other records maintained
28       by Defendant for the potential Class Members and other current and former
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                          Plaintiff’s Unopposed Motion for Final Approval of Settlement - 7
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1        employees. Plaintiff, with the assistance of a retained expert, conducted a thorough
2        analysis of Defendant’s records, including 8,494 individual shifts, developing
3        numerous data points, and using sophisticated analytical techniques to identify the
4        potential damages, as described below. (Koulloukian Decl. ¶9-11.) The parties have
5        agreed to a $1,440,000.00 non-reversionary settlement upon the terms and
6        conditions set forth in the executed Settlement Agreement. The Class Period is from
7        July 19, 2013 to the date of preliminary approval of the settlement and includes 493
8        employees, earning an average hourly rate of $18.23. (La Decl. ¶8, 13-15.)
9               CPT Group, Inc. (“Settlement Administrator”) has provided notice to the
10       Class pursuant to the terms and conditions of the Settlement Agreement. Class
11       Notice Packets were mailed via U.S. First-Class mail to all Settlement Class
12       Members on July 17, 2019. (La Decl. ¶7.) No disputes, written objections, or
13       requests for exclusion have been made to the settlement. Therefore, every one of the
14       493 Class Members will be participating in the Settlement, which represents a 100%
15       participation rate. (La Decl. ¶13-15.)
16
                            III.    DISCOVERY AND INVESTIGATION
17
18              Discovery and investigation undertaken by Plaintiffs was extensive.
19       Defendants produced a 20% representative sample of time punch and payroll
20       documents, in addition to relevant company policy documents for review. Class
21       Counsel invested significant time reviewing these documents and, with the
22       assistance of a retained expert, analyzing the time records and pay statements to
23       determine Defendants’ potential damage exposure. This was necessary to evaluate
24       the risks for liability on the amount of underpaid wages owed, as well as damages
25       data for the Class, which was used to calculate damages exposure and payment
26       allocation. (Koulloukian Decl., ¶¶ 10-11, 29.)
27
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1               After analysis of the responsive discovery as well as other gathered data, and
2        believing that this case was appropriate for consensual resolution given the high
3        level of risk present for both sides, the Parties agreed to attend mediation.
4        (Koulloukian Decl. ¶11.) Leading up to the mediation, the Parties engaged in further
5        in-depth informal discussions. The mediation lasted a full day and concluded in a
6        settlement in principle. The parties then engaged in extensive negotiations
7        concerning the terms of the long-form settlement agreement.
8               Plaintiffs have obtained detailed discovery on both liability and damages.
9        This information allowed Plaintiffs to provide this Court sufficient evidence to
10       determine adequacy of the settlement, ultimately resulting in preliminary approval
11       of the settlement. Kullar v. Foot Locker Retail, Inc., 168 Cal. App. 4th 116, 131-33
12       (2008); Reynolds v. Benefit Nat'l Bank, 288 F.3d 277, 284-85 (7th Cir. 2002).
13
                A.     The Settlement is Fair, Reasonable, and Adequate
14
15
                Based on their own independent investigations and evaluations, the Parties
16       and their counsel are of the opinion that the “all-in”, non-reversionary settlement set
17       forth in the Agreement, from which class members may exclude themselves, is fair,
18       reasonable, and adequate and is in the best interests of Class Members and the
19       Defendants in light of all known facts and circumstances and the expenses and risks
20       inherent in litigation. Defendants deny any liability or wrongdoing of any kind
21       associated with the claims alleged by Plaintiffs and further denies that, for any
22       purpose other than that of settling this lawsuit, this action is appropriate for class
23       treatment.
24       ///
25       ///
26       ///
27       ///
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1                                          II.     SETTLEMENT
2
                A.     Settlement Negotiations
3
4               The Parties participated in a full day of mediation before highly experienced
5        mediator, Jeffrey Krivis, Esq, where they engaged in an intensive arms-length
6        discussion regarding their respective evaluations of and relevant legal arguments.
7        They reached an agreement in principle that day, which was the foundation for
8        extensive negotiations of all settlement terms. (Koulloukian Decl. ¶12.)
9               Class Counsel then drafted and filed a Motion for Preliminary Approval,
10       which came before this Court on September 6, 2018, and was denied without
11       prejudice. The parties thoroughly analyzed feedback from the Court, renegotiated
12       and amended the Settlement Agreement, drafted, and filed a second Motion for
13       Preliminary Approval. Following the October 25, 2018 hearing on the second
14       Motion for Preliminary Approval, the parties again analyzed the Court’s feedback,
15       renegotiated and amended the Settlement Agreement. Plaintiff drafted and filed a
16       Second Amended Complaint, adding a claim under the Fair Labor Standards Act
17       (“FLSA”) 29 U.S.C. §216(b), which is the operative complaint. (Dkt 42.) The parties
18       again revisited and renegotiated settlement terms and drafted and filed a Second
19       Amended Settlement Agreement. (Dkt. 46.)
20              The Amended Settlement Agreement was preliminarily approved by the Court
21       on June 18, 2019 and is submitted concurrently herewith. (Dkt. 52; Koulloukian
22       Decl. ¶¶6-7, 12-13; exhibit 1.)
23
24              B.     Definition of the Proposed Class
25
                The settlement class (“Class Members”) means “All current and former
26
         nonexempt hourly employees of Defendant who were employed in the State of
27
         California in any workweek from July 19, 2013 to June 18, 2019, who have not
28
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                         Plaintiff’s Unopposed Motion for Final Approval of Settlement - 10
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1        requested exclusion from the Settlement after the Notice Period and who are
2        therefore in the Settlement Class that is certified for purposes of Settlement only,
3        following entry of an Order by the Court.” (La Decl., exhibit A, ¶A; Settlement
4        ¶15e.)
5                 The class consists of 493 putative class members, all of whom will be
6        participating in the settlement and receiving a Settlement Payment, amounting to a
7        100% participation rate. (La Decl. ¶ 8, 11-15.) This is an “all in”, non-reversionary
8        settlement, wherein Class Members are automatically included unless they exclude
9        themselves from participation. There are no objections, disputes, or exclusions. (La
10       Decl. ¶13-15.)
11
                  C.    Settlement Terms
12
13
                  The Parties have agreed to the following:

14                             1.      Gross Settlement Amount
15
                  The Gross Settlement Amount shall be One Million Four Hundred Forty
16
         Thousand Dollars ($1,440,000.00). (Settlement ¶ 16.) Within fifteen (15) calendar
17
         days after the Effective Date, Defendant shall deposit the Gross Settlement Amount
18
         Maximum Settlement with the Claims Administrator. The Claims Administrator will
19
         use the Gross Settlement Amount to pay all items identified in the Settlement,
20
         including all settlement awards to Class Members, all state and federal taxes on
21
         behalf of the Class Members and Defendant, the LWDA Payment, Court approved
22
         attorneys’ fees and attorneys’ costs to Class Counsel, the claims administration fee
23
         to the claims administrator, and the service award to Plaintiff. (Settlement ¶40.)
24
                  Participating Class Member Individual Settlement Payments
25
                  Class Members shall receive a proportionate share of the Net Settlement
26
         Amount (“NSA”), which will be based on the total Workweeks of all potential Class
27
         Members, the number of Workweeks worked by each Class Member, and the
28
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                          Plaintiff’s Unopposed Motion for Final Approval of Settlement - 11
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1        number of Class Members, as appropriate. (Settlement ¶ 24.) In addition, each Class
2        Member who is a former employee of Defendants as of the date of preliminary
3        approval shall receive an additional payment of $250.00. Id.
4               For the purposes of tax treatment, the individual settlement payments will be
5        allocated as 20% back wages, 30% non-wage interest, and 50% penalties or
6        liquidated damages. The payroll deductions for the wage portion of the individual
7        settlement payments will be calculated by the Claims Administrator, subtracted from
8        the settlement payments, and paid to the appropriate government agencies.
9        Defendant shall be responsible for the employer’s share of the government payroll
10       obligations, which Defendant will pay in addition to the Gross Settlement Amount.
11       (Settlement ¶ 27.)
12              Attorneys’ Fees and Expenses
13              The Court has preliminarily approved an award of Class Counsel’s attorneys’
14       fees up to one-third of the Gross Settlement Amount ($432,000). Plaintiff’s motion
15       for attorneys’ fees and costs will be heard concurrently with this motion and seeks
16       $432,000 in attorneys’ fees in addition to $12,135.26 in actual costs.
17              Class Representative Service Award
18              The Parties seek final approval of a service award of $5,000 to Plaintiff Jose
19       Tinoco to compensate him for the risks, time, and expense of involvement in the
20       action and in consideration for his general release of all other claims as specified in
21       the Settlement Agreement. (Settlement ¶19.)
22              LWDA Payment
23              The Parties have designated $20,000.00 for satisfaction of Plaintiffs’ and
24       Settlement Class members’ claims pursuant to PAGA. Seventy-five percent (75%)
25       of this amount, or $15,000.00, shall be deducted from the Gross Settlement Amount
26       and paid to the LWDA, as mandated by Cal. Labor Code §2699(i). (Settlement ¶15.)
27       “PAGA penalties...are mandatory, not discretionary” and must be awarded upon a
28       showing that Defendant violated the Labor Code. Amaral v. Cintas Corp. No. 2 163
     2
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1        Cal.App.4th 1157, 1213 (2008); Moreno v. Autozone, Inc., No. C05-04432 MJJ,
2        2007 WL 1650942, at *3 (N.D. Cal. June 5, 2007). However, PAGA does provide
3        the Court with discretion when it awards the amount of penalties. Labor Code
4        §2699(e)(2) states that “a court may award a lesser amount than the maximum civil
5        penalty amount specified by this part if, based on the facts and circumstances of the
6        particular case, to do otherwise would result in an award that is unjust, arbitrary and
7        oppressive, or confiscatory.”
8
                       2.        Net Settlement Amount
9
10
                The “Net Settlement Amount” is the amount available for distribution after
11       deducting attorneys’ fees, costs, Settlement Administration Costs, payment to the
12       LWDA, and Class Representative Service Awards. (Settlement ¶26.) Because this is
13       an all-in, non-reversionary settlement, Participating Class Members automatically
14       receive payment of their Individual Settlement Payments unless they submit a valid
15       Request for Exclusion. Payments will be made to 493 participating Class Members
16       and the Claims Administrator estimates that the highest payment will be $4,340.30
17       and the average payment will be $1,959.16. (La Decl. ¶¶15, 17.)
18
19                     3.        Administration of the Settlement to Class Members
20
                The Settlement Agreement requests that Notice be provided to the Settlement
21
         Class Members in a Notice Packet in both English and Spanish, informing
22
         Settlement Class members of the number of Eligible Workweeks applicable to them
23
         and their estimated Individual Settlement Payment. (La Decl. ¶ 4, Exhibits A & B.)
24
         The procedure for dissemination of the Notice Packet, as well as the procedure Class
25
         Members must follow to dispute the dates of employment, submit objections, and/or
26
         requests for exclusion from the Class, is explicitly and clearly articulated in the
27
         Notice. (La Decl. ¶4, Exhibit A.) Consistent with this requirement, Notice Packets
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                            Plaintiff’s Unopposed Motion for Final Approval of Settlement - 13
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1        translated in both English and Spanish were mailed on July 17, 2019. (La Decl. ¶7.)
2        Again, out of the 493 Class Members, there have been no objections, workweek
3        disputes, or requests for exclusion. (La Decl. ¶ 13-15.) Additionally, 204 Class
4        Members have voluntarily opted in for the optional release of the FLSA claim. (La
5        Decl. ¶ 12.)
6
                        4.         Limited Scope of Class Member Release
7
8
                The release of Class Members’ claims is limited in scope to all claims arising
9        between July 19, 2013 and preliminary approval “related to the factual allegations
10       in the Action.” (Settlement ¶ 15v, 41-43.) This is consistent with case law and limits
11       the class release to those claims that were asserted in the Complaints or that may
12       arise out of the facts pleaded in the Complaints. See TBK Partners, Ltd. V. W. Union
13       Corp., 675 F.2d 456, 460(2d Cir. 1982); see also Alba Conte & Herbert Newberg,
14       Newberg on Class Actions §12:15 (4th ed. 2002), at 312 (“The scope of a judgment
15       must be limited to the claims that were asserted or that may arise out of the
16       transactions or events pleaded in the complaint…”); In re Corrugated Container
17       Antitrust Litig., 643 F.2d 195, 221-22 (5th Cir. 1981). Finally, there is no §1542
18       release of Participating Class Members’ claims.
19
20                           IV.     STATUS OF THE CLAIMS PROCEDURE
21
                To protect the right of absent class members, the trial court must provide the
22
         best notice practicable to class members. See Phillips Petroleum Co. v. Shutts, 472
23
         U.S. 797, 811-12 (1985); Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 174-175
24
         (1974). There is no requirement that all class members receive actual notice,
25
         whether by mail or some other means; rather, “individual notice must be provided
26
         to those class members who are identifiable through reasonable effort.” Eisen, 417
27
         U.S. at 175.
28
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                             Plaintiff’s Unopposed Motion for Final Approval of Settlement - 14
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1               On June 18, 2019, this Court preliminarily approved the Settlement, finding
2        it to be fair, adequate and reasonable, and falling within the range of reasonableness.
3        The Court also found that the language in the class notice packet (“Notice Packet”)
4        and class notice procedure as set forth in the Settlement Agreement was the best
5        means practicable of providing notice under the circumstances, and constituted due
6        and sufficient notice of the class action, proposed settlement, and the final approval
7        hearing to all persons affected by and/or authorized to participate in the settlement,
8        in full compliance with due process and the notice requirements of California Code
9        of Civil Procedure § 877.6.
10              The Claims Administrator for the Settlement Agreement is CPT Group, Inc.
11       On July 8, 2019, the Settlement Administrator received a data file from Defendant’s
12       Counsel that contained names, last known mailing addresses, Social Security
13       numbers, and dates of employment for each Class Member during the Class Period.
14       The list contained 466 Class Members. (La Decl., ¶ 5.)
15              On July 17, 2019, the Settlement Administrator conducted a National Change
16       of Address (NCOA) search in an attempt to update the class list of addresses as
17       accurately as possible. A search of this database provides updated addresses for any
18       individual who has moved in the previous four (4) years and notified the U.S. Postal
19       Service of their change of address. (La Decl. ¶ 6.) On July 17, 2019, the notice
20       packets were mailed via U.S. first class mail, in English and Spanish to all 493 Class
21       Members on the Class List. (La Decl. ¶ 7.)
22              After the initial mailing, Defense Counsel advised that 27 Class Members had
23       been inadvertently excluded from the class list. Defense Counsel transmitted those
24       data files to CPT. (La Decl. ¶8.) Notice packets were mailed September 5, 2019 to
25       the additional 27 Class Members. (La Decl. ¶ 9.)
26              As of the date of CPT Group’s declaration, 20 Notice Packets have been
27       returned to the Claims Administrator. CPT then attempted to locate a current
28       mailing address using Accurint, one of the most comprehensive address databases
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                         Plaintiff’s Unopposed Motion for Final Approval of Settlement - 15
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1        available for skip tracing. Accurint utilizes hundreds of different databases supplied
2        by credit supporting agencies, public records, and a variety of other national
3        databases. (La Decl. ¶10.) 19 Notice Packets were re-mailed via first class mail,
4        with 7 returned as undeliverable. (La Decl. ¶ 11).
5               CPT has received 218 responses from Class Members: 204 to opt-in to the
6        FLSA release, 11 duplicate responses, and 3 blank responses. (La Decl. ¶ 12.) Out
7        of the total 493 Class Members, there have been no objections, workweek disputes,
8        or requests for exclusion. (La Decl. ¶ 13-15.)
9
                           V.     FINAL APPROVAL IS APPROPRIATE
10
11              The trial court has broad discretion to determine whether a proposed class
12       action settlement is fair. Rebney v. Wells Fargo Bank, 220 Cal.App.3d 1117, 1138
13       (1990); Mallick v. Superior Court, 89 Cal.App.3d 434, 438 (1979). There is a
14       presumption of fairness of a class action settlement when: 1) The settlement is
15       reached as a result of arms-length negotiations; 2) There has been sufficient
16       investigation and discovery; 3) Counsel is experienced in similar litigation; and, 4)
17       the percentage of objectors is small. Dunk v. Ford Motor Company, 48 Cal.App.4th
18       1794, 1802 (1996).
19
20              A.     The Settlement Was Achieved Through Arms-Length Negotiations
21              “[W]hat transpires in settlement negotiations is highly relevant to the
22       assessment of a proposed settlement's fairness.” State v. Levi Strauss & Co., 41 Cal.
23       3d 460, 482 (1986). Courts presume the absence of fraud or collusion in the
24       negotiation of a settlement, unless evidence to the contrary is offered; thus, there is
25       a presumption that settlement negotiations are conducted in good faith. Nordstrom
26       Com. Cases, 186 Cal. App. 4th at 581, quoting Cellphone Termination Fee Cases,
27       180 Cal. App. 4th at 1117-1118 (2011).
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                         Plaintiff’s Unopposed Motion for Final Approval of Settlement - 16
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1               There can be no doubt as to the fairness of the settlement before this Court.
2        The parties arrived at this settlement through arm’s length bargaining, following a
3        full day of mediation. The parties went into mediation willing to explore the potential
4        for a settlement of the dispute, but each side was also committed and prepared to
5        litigate its position through trial and appeal if a settlement had not been reached. The
6        proposed settlement was reached at the end of a lengthy, arms-length negotiation
7        process, in which counsel for all parties advanced their respective positions
8        throughout the settlement negotiations. (Koulloukian Decl. ¶¶6, 12-15.) The
9        Settlement is fair, reasonable, and in the best interests of the class. (Koulloukian
10       Decl., ¶¶14-15.)
11
                B.     Settlement       Negotiations         were      Supported         by   Sufficient
12
13
                       Investigation and Discovery

14
                Prior to the entering into the Settlement, Class Counsel conducted an
15
         exhaustive investigation into the claims alleged by the Plaintiffs. Discovery and
16
         investigation included the review of voluminous time-keeping and related payroll
17
         records. In particular, Class Counsel spent a significant time analyzing a significant
18
         representative sample of time punch and payroll records to determine the extent of
19
         liability and evaluate the case for settlement. These records were reviewed and
20
         analyzed with the assistance of a retained expert. (Koulloukian Decl. ¶¶11.) Based
21
         on these efforts, Class Counsel was able to act intelligently and effectively in
22
         negotiating the proposed settlement. Plaintiffs’ extensive pre-mediation discovery
23
         and investigation allows Plaintiffs to provide this Court sufficient evidence to
24
         determine adequacy of the settlement. Kullar v. Foot Locker Retail, Inc., 168 Cal.
25
         App. 4th 116, 131-33 (2008); Reynolds v. Benefit Nat'l Bank, 288 F.3d 277, 284-85
26
         (7th Cir. 2002).
27
28
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                         Plaintiff’s Unopposed Motion for Final Approval of Settlement - 17
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1               As a result of the extensive investigation and discovery in this case, Plaintiffs’
2        counsel have a thorough understanding of the practical and legal issues they would
3        continue to face litigating this case. (Koulloukian Decl. ¶ 11, 12.), Plaintiffs face
4        several serious challenges, and Defendant has mounted a vigorous defense. At
5        mediation, Defendant presented a number of compelling arguments. For example,
6        Defendant raised several defenses to Plaintiff’s overtime miscalculation claim,
7        always alleging that the bonuses were discretionary and not required to be factored
8        into the calculation. Concerning Plaintiff’s meal and rest break claims, Defendant
9        argued that it properly provided employees with breaks, and that they were not
10       required to police employees who chose to skip or take non-compliant breaks for
11       their personal reasons. Further, rest break violations can be difficult to evidence,
12       given that employees are not required to clock in and out for rest breaks. Defendant
13       also intended to raise several defenses against class certification, including (1) that
14       individualized determinations regarding the amount of overtime wages owing, if
15       any, would overwhelm common issues; and (2) whether Class Members actually
16       took meal and rest breaks would overwhelm any common issues. If Defendant
17       succeeded on any of these or other defenses to class certification, Defendant would
18       likely further argue that its success would necessarily impact Plaintiff’s derivative
19       claims. In the end, Plaintiff would then be left with only individual claims and the
20       Class and Collective would potentially recover nothing. This further demonstrates
21       the reasonableness of the total settlement value and the risks of further litigation.
22       (Koulloukian Decl. ¶ 12.)
23              These defenses, if successful, could severely reduce the damages and PAGA
24       penalties recoverable by Class Members. (Koulloukian Decl. ¶12.) Additionally,
25       Plaintiffs alleged claims asserting a violation of Labor Code Section 201-203
26       penalties, which are derivative since Plaintiffs asserts that wages, including overtime
27       and penalty wages, were underpaid and thus remain unpaid to all separated class
28       members. The challenge here is that Plaintiffs must establish that the failure to pay
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1        at the time of separation was willful. Defendant has a potentially insurmountable
2        argument that it had a good faith belief at the time of separation that it was not
3        obligated to pay for any underpaid wages, and its failure to have done so was not
4        willful.
5               Furthermore, while Plaintiffs alleged claims that the company is liable for
6        civil penalties under PAGA, penalties are discretionary and, thus, uncertain. Given
7        the uncertain nature of the underlying claims, the value of the claims under this
8        statute are significantly lower. (Koulloukian Decl., ¶ 12).
9               Despite these hurdles, Plaintiff obtained a settlement fund of $1,440,000.
10       Class Counsel’s extensive investigation, discovery, and case analysis enabled Class
11       Counsel to address the strengths and weaknesses of Plaintiff’s case, discussed above,
12       and utilize this understanding to negotiate for and arrive at a favorable settlement.
13       By any reasonable measure, this recovery is a significant achievement given the
14       significant obstacles Plaintiff faced in the litigation.
15
                C.     Counsel Has Extensive Experience
16
17
                Class Counsel are experienced, respected members of the bar with strong

18       records of vigorous and effective advocacy for their clients, and in handling complex
19       wage and hour class action litigation. (Koulloukian Decl., ¶¶ 19-27.) Plaintiff and
20       Class Counsel were prepared to litigate the claims in the action, but they supported
21       the proposed settlement as being in the best interests of the proposed class. The
22       qualifications of Class Counsel are described at length in their concurrently pending
23       motion for attorneys’ fees, costs, and plaintiff enhancement awards, and will be
24       discussed in more detail therein.
25
                D.     No Class Members Have Objected
26
27              The response of class members is clearly indicative of the fairness of the
28       settlement. As set forth above, there were notices mailed out to 493 class members.
     2
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                         Plaintiff’s Unopposed Motion for Final Approval of Settlement - 19
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1        To date, there have been no objections, no disputes, and no requests for exclusion
2        from the Settlement, yielding a 100% participation rate. (La Decl. ¶13-15.) “The
3        negligible number of opt-outs and objections indicates that the class generally
4        approves of the settlement.” In re Toys R Us-Delaware, Inc.--Fair & Accurate
5        Credit Transactions Act (FACTA) Litig., 295 F.R.D. 438, 456 (C.D. Cal. 2014)
6        (citing Churchill Village, L.L.C. v. General Electric, 361 F.3d 566, 577 (9th Cir.
7        2004) (affirming the approval of a class action settlement where 90,000 members
8        received notice and 45 objections were received). The response to this settlement
9        agreement is a strong indication of the fairness of the settlement.
10
                                           IX.     CONCLUSION
11
12              The Settlement Agreement is fair and reasonable and represents an excellent
13       opportunity for the current and former employees of Defendant to obtain recovery
14       for Defendant’s alleged illegal wage and hour practices and avoid all of the future
15       risks involved. The 100% participation rate further evidences the fairness of the
16       settlement agreement. Therefore, for the reasons set forth above and in the
17       Settlement Agreement on file, Plaintiff respectfully request that his Motion for Final
18       Approval of Class Action Settlement be granted.
19
20
         DATED: October 17, 2019                      KOUL LAW FIRM

21                                                    LAW OFFICES OF SAHAG MAJARIAN II
22
23
                                                      By:_/s/ Nazo L. Koulloukian___________
24                                                    Nazo L. Koulloukian
25                                                    Sahag Majarian II
                                                      Attorneys for Plaintiff,
26                                                    JOSE TINOCO, and all putative class
27                                                    members
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                         Plaintiff’s Unopposed Motion for Final Approval of Settlement - 20
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